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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS

___________________________________
                                   )
MARCOS DaSILVA and MATTEUS         )
FERREIRA, on behalf of themselves )
and all others similarly situated, )
                                   )
                    Plaintiffs,    )                 Civil Action
                                   )               No. 16-11205-PBS
v.                                 )
                                   )
BORDER TRANSFER OF MA, INC.,       )
                                   )
                    Defendant.     )
______________________________     )


                         MEMORANDUM AND ORDER

                            January 5, 2017

Saris, C.J.

                             INTRODUCTION

     Plaintiffs DaSilva and Ferreira used to work as delivery

drivers for Defendant Border Transfer. They claim that Border

Transfer improperly treated them as independent contractors when

they were in fact employees, and that as a result Border

Transfer unlawfully deducted certain business expenses from

their pay. Border Transfer moves to dismiss on the basis that

the plaintiffs’ claims are preempted by the Federal Aviation

Administration Authorization Act of 1994 (“FAAAA”), 49 U.S.C.

§ 14501(c)(1).




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     Border Transfer fails to show that the plaintiffs’ claims

are preempted. However, the unjust enrichment claim is barred

because there is an available remedy at law. Border Transfer’s

motion to dismiss (Docket No. 8) is DENIED as to Count I of the

complaint and ALLOWED as to Count II of the complaint.

                               BACKGROUND

I.   Factual Allegations

     Border Transfer provides delivery services for large retail

stores such as Sears. The plaintiffs worked as delivery drivers

for Border Transfer delivering Sears merchandise. Their

relationship with Border Transfer was governed by Contract

Carrier Agreements.1

     The agreements stated that the plaintiffs were independent

contractors. However, the plaintiffs allege that they should

have been classified as employees because Border Transfer

exercised substantial control over their drivers and the drivers

did not have the ability to maintain an independently

established business. The drivers were required to report to a

Border Transfer/Sears facility five mornings a week, where they

were instructed on how to assemble equipment and how to interact

with customers. They were directed to load goods on their trucks


1    The agreements are attached to Border Transfer’s motion to
dismiss as Exhibits A and B. They are incorporated by reference
in the complaint and are properly part of the motion to dismiss
record. Giragosian v. Ryan, 547 F.3d 59, 65 (1st Cir. 2008).
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in a specific order and to deliver them at specific times,

according to daily manifests provided by Border Transfer. The

drivers were required to log each delivery on a cell phone

application. They also had to be in contact with Border Transfer

and Sears dispatchers throughout the day regarding the status of

deliveries, cancellations, and rescheduling. Each day, the

drivers had to return haul-aways (equipment removed from

customers’ homes or businesses) to the warehouse.

     The drivers were not permitted to use helpers unless those

helpers passed Border Transfer’s background checks. Border

Transfer could terminate those helpers at any time.

     The drivers were required to own or lease a truck that met

Border Transfer’s specifications. They were also required to

carry insurance at levels dictated by Border Transfer.

     Border Transfer monitored customer ratings for each driver

and would suspend drivers whose ratings dropped below a certain

level. Border Transfer could also terminate the contract with

the drivers without cause.

     Certain expenses were deducted directly from drivers’

compensation, including when Border Transfer determined that a

delivery had been made in an unsatisfactory manner –- for

instance, when goods or consumer property were damaged. The cost

of uniforms was also deducted, as was the cost of paying for a

replacement driver when a driver could not complete a delivery.

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Certain expenses, such as worker’s compensation coverage, cargo

insurance, fuel costs, vehicle maintenance costs, and payments

to helpers, were borne by the drivers.

II.   Procedural History

      After their agreements with Border Transfer expired, the

plaintiffs filed this putative class action complaint. They

asserted two counts: (1) violation of the Massachusetts Wage

Law, Mass. Gen. Laws ch. 149, § 148, and (2) unjust enrichment.

Both causes of action claimed that Border Transfer improperly

treated the plaintiffs as independent contractors rather than as

employees, and as a result unlawfully deducted certain expenses

from their pay.

      On August 8, 2016, Border Transfer moved to dismiss on the

basis that the plaintiffs’ claims are preempted by the FAAAA.

                                DISCUSSION

I.    Motion to Dismiss Standard

      A Rule 12(b)(6) motion is used to dismiss complaints that

do not “state a claim upon which relief can be granted.” See

Fed. R. Civ. P. 12(b)(6). In evaluating a Rule 12(b)(6) motion,

the Court must accept the factual allegations in the plaintiffs’

complaint as true, construe reasonable inferences in their

favor, and “determine whether the factual allegations in the

plaintiff’s complaint set forth a plausible claim upon which

relief may be granted.” Foley v. Wells Fargo Bank, N.A., 772

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F.3d 63, 71 (1st Cir. 2014).

II.   Legal Framework

      A.   Massachusetts Wage Law

      The Massachusetts Wage Law requires prompt and full payment

of wages due. It provides that “in no event shall wages remain

unpaid by an employer for more than six days from the

termination of the pay period in which such wages were earned by

the employee.” Mass. Gen. Laws ch. 149, § 148. The Massachusetts

Supreme Judicial Court has interpreted the statute as banning

improper wage deductions, even where the employee has given his

or her assent. Camara v. Attorney Gen., 941 N.E.2d 1118, 1121–22

(Mass. 2011).

      The term “employee” in the Massachusetts Wage Law is

defined by the Massachusetts Independent Contractor Statute:

      [A]n individual performing any service, except as
      authorized under this chapter, shall be considered to be
      an employee under those chapters unless:
           (1) the individual is free from control and
           direction in connection with the performance of the
           service,   both   under  his    contract   for   the
           performance of service and in fact; and
           (2) the service is performed outside the usual
           course of the business of the employer; and,
           (3) the individual is customarily engaged in an
           independently   established    trade,    occupation,
           profession or business of the same nature as that
           involved in the service performed.

Mass. Gen. Laws ch. 149, § 148B(a). All three prongs must be met

for a worker to be an independent contractor rather than an



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employee. The case law refers to the three prongs as Prongs 1,

2, and 3 (or, occasionally, Prongs A, B, and C).

     B.    FAAAA Preemption

     The FAAAA expressly preempts any state law “related to a

price, route, or service of any motor carrier . . . or any motor

private carrier, broker, or freight forwarder with respect to

the transportation of property.” 49 U.S.C. § 14501(c)(1). There

are three exceptions to the preemption provision, none of which

apply here. Id. § 14501(c)(2).

     Congress copied the FAAAA preemption provision from the

preemption clause of the Airline Deregulation Act of 1978

(“ADA”), 49 U.S.C. § 41713(b)(1). See Rowe v. N.H. Motor Transp.

Ass’n, 552 U.S. 364, 370 (2008). The ADA was part of a wave of

federal deregulation and was based on Congress’s determination

that “‘maximum reliance on competitive market forces’ would

favor lower airline fares and better airline service.” Id. at

367–68 (quoting Morales v. Trans World Airlines, Inc., 504 U.S.

374, 378 (1992)). The purpose of ADA preemption was to “ensure

that the States would not undo federal deregulation with

regulation of their own.” Id. at 368 (quoting Morales, 504 U.S.

at 378).

     By adopting the wording of the ADA preemption clause in the

FAAAA, Congress also adopted the Supreme Court’s “broad

preemption interpretation” of the ADA. Rowe, 552 U.S. at 370.

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Like the ADA, the FAAAA was intended to “help[] ensure

transportation rates, routes, and services that reflect ‘maximum

reliance on competitive market forces,’ thereby stimulating

‘efficiency, innovation, and low prices,’ as well as ‘variety’

and ‘quality.’” Id. (quoting Morales, 504 U.S. at 378).

     Under the broad ADA/FAAAA preemption standard, a state law

is preempted “if it expressly references, or has a significant

impact on, carriers’ prices, routes, or services.” Mass.

Delivery Ass’n v. Coakley, 769 F.3d 11, 17–18 (1st Cir. 2014). A

state law can be preempted even if its effect on prices, routes,

or services “is only indirect.” Rowe, 552 U.S. at 370. Of

course, there must be a limit to preemption because, “in a broad

sense, everything ‘relates to’ everything else in some manner.”

Schwann v. FedEx Ground Package Sys., Inc., 813 F.3d 429, 436

(1st Cir. 2016). Therefore, state laws that only have a

“tenuous, remote, or peripheral” impact on prices, routes, or

services are not preempted. Rowe, 552 U.S. at 371.

     The First Circuit has held that a state law’s potential

impact on prices, routes, and services is sufficient for

preemption if that impact is significant, rather than tenuous,

remote, or peripheral. Mass. Delivery Ass’n, 769 F.3d at 21. The

potential impact need not be proven by empirical evidence.

Rather, courts may “look[] to the logical effect that a

particular scheme has on the delivery of services or the setting

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of rates.” Id. (alteration in original) (quoting N.H. Motor

Transport Ass’n v. Rowe, 448 F.3d 66, 82 n.14 (1st Cir. 2006),

aff’d, 552 U.S. 364 (2008)).

     In Schwann, the First Circuit applied the broad FAAAA

preemption standard to the Massachusetts Independent Contractor

Statute and found Prong 2 to be preempted. According to the

First Circuit, Prong 2 was “something of an anomaly” in

“mak[ing] any person who performs a service within the usual

course of the enterprise’s business an employee for state wage

law purposes, . . . even if those persons could be deemed

independent contractors under federal law and the law of many

states.” Id. at 438. As such, Prong 2 caused “regulatory

interference” by “preclud[ing] FedEx from providing for first-

and-last mile pick-up and delivery services through an

independent person who bears the economic risk associated with

any inefficiencies in performance.” Id. at 438–39. That, the

First Circuit reasoned, would have a significant effect on the

carrier’s routes and services as a matter of logic. Id.

III. FAAAA Preemption

     Border Transfer argues that the FAAAA preempts the

plaintiffs’ unjust enrichment claim, the Massachusetts Wage Act

claim, and the entirety of the independent contractor definition

statute in § 148B.



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     In response, the plaintiffs argue for a categorical rule

that the FAAAA does not preempt generally applicable state

employment laws. The plaintiffs rely on a number of out-of-

circuit cases, principally Costello v. Beavex, 810 F.3d 1045,

1055 (7th Cir. 2016) (holding that the Illinois Wage Payment and

Collection Act, which prohibits wage deductions in a similar way

as the Massachusetts Wage Law, is not FAAAA-preempted because it

“regulates the motor carrier as an employer, and any indirect

effect on prices is too tenuous, remote, or peripheral”);

Amerijet Int’l Inc. v. Miami-Dade County, 627 Fed. App’x 744

(11th Cir. Sept. 21, 2015) (holding a state minimum wage law not

FAAAA-preempted); and Dilts v. Penski Logistics, LLC, 769 F.3d

637, 646–47 (9th Cir. 2014) (holding that California meal and

rest break laws were not FAAAA-preempted because they were

“generally applicable background regulations that are several

steps removed from prices, routes, or services”).

     However, the First Circuit has already rejected a

categorical rule of that nature. In Massachusetts Delivery

Association v. Coakley, the Massachusetts Attorney General

“argue[d] for a categorical rule against preemption of

‘background’ labor laws” that “are generally applicable and not

directed to a particular area of federal authority.” 769 F.3d at

18. The First Circuit “refuse[d] . . . to adopt such a

categorical rule exempting from preemption all generally

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applicable state labor laws.” Id. at 20. The First Circuit noted

that Supreme Court precedent favored a broad reading of “related

to” preemption and that the Attorney General’s proposed

categorical rule would “creat[e] an utterly irrational loophole

(there is little reason why state impairment of the federal

scheme should be deemed acceptable so long as it is effected by

the particularized application of a general statute).” Id.

(quoting Morales, 504 U.S. at 386). Instead, wrote the First

Circuit, “we must carefully evaluate even generally applicable

state laws for an impermissible effect on carriers’ prices,

routes, and services,” and “engage with the real and logical

effects of the state statute, rather than simply assigning it a

label.” Id.

     The First Circuit in Schwann conducted such an analysis on

Prong 2 and found it to be preempted. That conclusion is binding

here. See N.H. Motor Transp. Ass’n, 448 F.3d at 72–73 (“[I]f a

state law is preempted as to one carrier, it is preempted as to

all carriers.”). The plaintiffs argue that Schwann also did that

work for Prongs 1 and 3 and found them to be, unlike Prong 2,

not preempted. But the plaintiffs misrepresent the holding of

Schwann. Schwann held that Prong 2 was preempted, but said

nothing about whether either Prongs 1 or 3 was preempted.

Instead, Schwann vacated and reversed the district court’s

holding that Prongs 1 and 3 were preempted on the basis that

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FedEx never made such an argument either before the district

court or before the First Circuit. Schwann, 813 F.3d at 441.

That the First Circuit in Schwann “h[e]ld FedEx to its decision

not to argue to us that Prongs 1 and 3 are preempted,” id., is

different from a holding on the merits that Prongs 1 and 3 are

not preempted.

     As such, the question before the Court is whether the

Massachusetts Wage Law claim and Prongs 1 and 3 of the

Massachusetts Independent Contractor Statute actually have a

significant impermissible effect on carriers’ prices, routes and

services. Border Transfer’s “related to” analysis fails to make

that showing. Border Transfer does nothing more than argue in a

conclusory manner that the plaintiffs’ state law claims are

service-determinative, with a citation to Schwann. But the FAAAA

analysis is not so simple and Schwann does not do the work that

Border Transfer wants it to.

     Schwann’s holding on Prong 2 does not extend to Prongs 1

and 3. Schwann found it to be significant that Prong 2 made any

person who performs a service within the usual course of the

enterprise’s business an employee for state wage law purposes --

in other words, it necessarily made any person who drove for

FedEx an employee. Schwann, 813 F.3d at 438. That was a severe

constraint on FedEx’s business model that, by preventing FedEx

from being able to set up drivers with particular economic

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incentives, had a significant effect on FedEx’s routes and

services as a matter of logic. But, as the Massachusetts Supreme

Judicial Court recently held, Prongs 1 and 3 do not have such a

drastic effect. See Chambers v. RDI Logistics, Inc., 2016 WL

7253568, at *7 (Mass. Dec. 16, 2016) (“Unlike prong two, there

is nothing intrinsic to [Prongs 1 and 3] that prevents motor

carriers from using independent contractors.”). Prongs 1 and 3

still allow a carrier to use an independent contract driver

model as long as the carrier does not exert a certain level of

control over them or prevent them from engaging in an

independently established trade.

     Schwann also suggested that state laws that are anomalous

relative to laws of other states would logically have a greater

effect on prices, routes, and services. It emphasized that not

only did Prong 2 constrain carriers’ business models by

automatically making any driver an employee, but that it was

also unlike the law of many other states. Prongs 1 and 3, in

contrast, are fairly standard elements of an independent

contractor test. See Khan v. E. Coast Critical, LLC, No. MICV

2015-2762-D (Mass. Sup. Ct. May 4, 2016), slip op. at 3 (“Prongs

1 and 3 of § 148B(a) on their face adopt wide-spread and

apparently nationally uniform tests for determining the

employer/employee relationship . . . .”). As the First Circuit

suggested, “state laws that are more or less nationally uniform,

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and therefore pose no patchwork problem, or that have less of a

reference to and effect on a carrier’s service and routes pose

closer questions than that presented in this case.” Schwann, 813

F.3d at 440.

     Border Transfer’s “related to” argument boils down to an

assertion that the Massachusetts Wage Law plus the Massachusetts

Independent Contractor Statute “compel different service terms

than those in the Agreement.” Docket No. 27 at 2. But the basis

for that argument is tenuous because the agreement between

Border Transfer and its drivers does not contain service terms.

Border Transfer fails to allege any facts that Massachusetts

law, by overriding Border Transfer’s contract with the drivers,

has a significant impact on the services that Border Transfer

provides to its customers.

     Instead, Border Transfer makes the legal argument that if

the Court finds under Massachusetts law that Border Transfer

employs truck drivers who transport goods, then that finding may

also trigger “motor carrier” status under federal law. Border

Transfer considers itself to be a broker, not a motor carrier.

See 49 U.S.C. § 13102(2) (defining “broker”), (14) (defining

“motor carrier”). Border Transfer claims that if it were

required to meet the various operating requirements that federal

law imposes on motor carriers, there would be a significant

impact on the services that it currently offers. See, e.g., id.

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§§ 14101, 14102. Any application of the federal motor carrier

statute to Border Transfer, however, would be by operation of

the federal statutory definition of a motor carrier, see id.

§ 13102(14), and federal regulations that define the terms

“employer” and “employee” for purposes of the federal motor

carrier safety regulations, 49 C.F.R. § 390.5. The parties have

not addressed any case law construing these definitions. In any

event, whether the plaintiffs fall within the definition is a

matter of federal law, not state law.

      On this record, the Court does not find the Massachusetts

Wage Act or Prongs 1 or 3 of the Massachusetts Independent

Contractor Statute preempted by the FAAAA. Border Transfer’s

motion to dismiss is DENIED as to Count I.

IV.   Unjust Enrichment

      A party with an adequate remedy at law cannot claim unjust

enrichment. Santagate v. Tower, 833 N.E.2d 171, 176 (Mass. App.

Ct. 2005). The Massachusetts Wage Act is available as a

statutory remedy, and that is sufficient to bar unjust

enrichment. Reed v. Zipcar, Inc., 883 F. Supp. 2d 329, 334 (D.

Mass. 2012) (noting that the viability of the remedy at law “is

beside the point” and that “mere availability” of the remedy at

law bars unjust enrichment), aff’d, 527 F. App’x 20 (1st Cir.

2013); see also Fernandes v. Havkin, 731 F. Supp. 2d 103, 114



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(D. Mass. 2010). Border Transfer’s motion to dismiss is ALLOWED

as to Count II.

                                 ORDER

     Border Transfer’s motion to dismiss (Docket No. 8) is

DENIED as to Count I and ALLOWED as to Count II.




                                 /s/ PATTI B. SARIS
                                 Patti B. Saris
                                 Chief United States District Judge




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